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1                                 UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
2

3    DEREK MORTLAND,                               )       CASE NO.:
                                                   )
4                   Plaintiff,                     )       CIVIL RIGHTS
                                                   )
5
            vs.                                    )       COMPLAINT FOR INJUNCTIVE
6                                                  )       RELIEF:
     STOW HOTEL ASSOCIATES LLC,                    )
7    d/b/a HAMPTON INN STOW,                       )       1ST CAUSE OF ACTION: For Denial of
                                                   )       Access by a Public Accommodation in
8
                    Defendant.                     )       Violation of the Americans with Disability
9                                                  )       Act of 1990 (“Title III” and “ADA”),
                                                   )       42 U.S.C. §§ 12181 et seq.
10                                                 )
                                                   )       2ND CAUSE OF ACTION: For Denial of
11
                                                   )       Access by a Public Accommodation in
12                                                 )       Violation of Ohio Revised Code 4112.02, et
                                                   )       seq.
13                                                 )
                                                   )       3RD CAUSE OF ACTION: For Denial of
14
                                                   )       Access by a Public Accommodation in
15                                                 )       Violation of Ohio Administrative Code
                                                   )       4101:1-11, et seq.
16
            Plaintiff DEREK MORTLAND Complains of Defendant STOW HOTEL ASSOCIATES
17

18   LLC doing business as HAMPTON INN STOW (hereinafter “HAMPTON”), and alleges as

19   follows:
20
     INTRODUCTION:
21
            1.      This is a civil rights action for discrimination against persons with physical
22
     disabilities, of which plaintiff MORTLAND is a member of, for failure to remove architectural
23

24   barriers structural in nature at Defendant’s HAMPTON INN STOW, a place of public

25   accommodation, thereby discriminatorily denying plaintiff access to, the full and equal
26
     enjoyment of, opportunity to participate in, and benefit from, the goods, facilities, services, and
27
     accommodations thereof. MORTLAND seeks injunctive relief pursuant to the Americans with
28
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1    Disability Act of 1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq.; Ohio Revised
2
     Code § 4112.02, et seq., and Ohio Administrative Code § 4101:1-11, et seq.
3
               2.    MORTLAND is a person with physical disabilities who, on or about April 4,
4
     2019 through April 5, 2019, was an invitee, guest, patron, or customer at Defendant’s
5

6    HAMPTON INN STOW, in the City of Stow, Ohio. At said time and place, Defendant failed to

7    provide proper legal access to HAMPTON INN STOW, which is a public accommodation and/or
8
     public facility. The denial of access was in violation of federal legal requirements, and
9
     MORTLAND suffered violations of his civil rights to full and equal access and was embarrassed
10
     and humiliated.
11

12   JURISDICTION AND VENUE:

13             3.    Jurisdiction: This Court has jurisdiction of this action pursuant to 28 U.S.C.
14
     §1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.
15
     Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
16
     nucleus of operative facts and arising out of the same transactions, are also brought under
17

18   parallel Ohio law, whose goals are closely tied with the ADA, including but not limited to

19   violations of Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code § 4101:1-11,
20
     et sec.
21
               4.    Venue: Venue is proper in this court pursuant to 28 U.S.C. §1391(b) and is
22
     founded on the facts that the real property which is the subject of this action is located in this
23

24   district at/near Lakepointe Corporate Dr., in the City of Stow, County of Summit, State of Ohio

25   and that MORTLAND’s causes of action arose in this district.
26
     PARTIES:
27
               5.    MORTLAND is a “physically handicapped person,” a “physically disabled
28
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1    person,” and a “person with physical disabilities.” (Hereinafter the terms “physically disabled,”
2
     “physically handicapped” and “person with physical disabilities” are used interchangeably, as
3
     these words have similar or identical common usage and legal meaning.) MORTLAND is a
4
     “person with physical disabilities,” as defined by all applicable United States laws.
5

6    MORTLAND requires the use of a wheelchair to travel about in public. Consequently,

7    MORTLAND is a member of that portion of the public whose rights are protected by the
8
     provisions of Ohio Revised Code § 4112.02, et seq. and Ohio Administrative Code § 4101:1-11,
9
     et sec.
10
               6.     Defendant STOW HOTEL ASSOCIATES LLC, doing business as HAMPTON
11

12   INN STOW, an Ohio Limited Liability Company (hereinafter referred to as “Defendant”) is the

13   owner and operator, lessor and/or lessee, or agent of the owner, lessor and/or lessee, and/or alter
14
     ego, franchisor and/or franchisee, of the building and/or buildings which constitute a public
15
     facility in and of itself, occupied by HAMPTON INN STOW, a public accommodation, located
16
     at/near 4331 Lakepointe Corporate Dr., Stow, Ohio, and subject to the requirements of the
17

18   Americans with Disability Act of 1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq.,

19   and to all other legal requirements referred to in this complaint.
20
               7. At all times relevant to this complaint, Defendant is the lessee, or agent of the
21
     lessee, and/or lessor, of said premises, and/or alter ego of the lessee, lessor and their agent, and
22
     owns and operates the subject HAMPTON INN STOW as a public facility at/near 4331
23

24   Lakepointe Corporate Dr., Stow, Ohio. The business is open to the general public and conducts

25   business therein and is therefore a public accommodation. MORTLAND does not know the
26
     relative responsibilities of the Defendant in the operation of the facilities herein complained of,
27
     and alleges a joint venture and common enterprise by any future named defendants.
28
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1            8. At all times relevant to this complaint, Defendant is the landlord/lessor,
2
     tenant/lessee and the owner and operator of the subject HAMPTON INN STOW, a public
3
     accommodation located at/near 4331 Lakepointe Corporate Dr., Stow, Ohio. As such, Defendant
4
     is jointly and severally responsible to identify and remove architectural barriers pursuant to Code
5

6    of Federal Regulations section 36.201(b), which states in pertinent

7    part:
8
             § 36.201       General
9
                            (b) Landlord and tenant responsibilities. Both the landlord
10                          who owns the building that houses a place of public
                            accommodation and the tenant who owns or operates the place of
11
                            public accommodation are public accommodations subject to the
12                          requirements of this part. As between the parties, allocation of
                            responsibility for complying with the obligations of this part may
13                          be determined by lease or other contract.
14
                            CFR §36.201(b)
15
             9. MORTLAND does not know the true names of Defendant, their business capacities,
16
     their ownership connection to the property and business, nor their relative responsibilities in
17

18   causing the access violations herein complained of, and allege a joint venture and common

19   enterprise by all such Defendant. MORTLAND is informed and believes that the Defendant
20
     herein are public accommodations, and are the agent, ostensible agent, master, servant,
21
     employer, employee, representative, franchisor, franchisee, joint venturer, alter ego, partner, and
22
     associate, or such similar capacity, of each of the other Defendant, and was at all times acting
23

24   and performing, or failing to act or perform, within the course and scope of his, her or its

25   authority as agent, ostensible agent, master, servant, employer, employee, representative,
26
     franchiser, franchisee, joint venturer, alter ego, partner, and associate, or such similar capacity,
27
     and with the authorization, consent, permission or ratification of each of the other Defendant,
28
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1    and is responsible in some manner for the acts and omissions of the other Defendant in legally
2
     causing the violations and damages complained of herein, and have approved or ratified each of
3
     the acts or omissions of each other defendant, as herein described. MORTLAND may seek leave
4
     to amend when the true names, capacities, connections, and responsibilities of Defendant are
5

6    ascertained.

7           10. MORTLAND is informed and believes that the named Defendant conspired to
8
     commit the acts described herein, or alternatively, aided and abetted one another in the
9
     performance of the wrongful acts hereinafter alleged with other now unknown defendants.
10
     PRELIMINARY FACTUAL ALLEGATIONS:
11

12          11. Defendant is the entity that owns, leases (or leases to), or operates HAMPTON INN

13   STOW, a hotel, located at/near 4331 Lakepointe Corporate Dr., Stow, Ohio. HAMPTON INN
14
     STOW and each of its facilities are places “of public accommodation” subject to the
15
     requirements of the Americans with Disability Act of 1990 (“TITLE III” AND “ADA”), 42.
16
     U.S.C. §§ 12181 et seq. On information and belief, said facility has undergone “alterations,
17

18   structural repairs and additions,” each of which has subjected HAMPTON INN STOW to

19   handicapped access requirements.
20
            12. MORTLAND is a person with a disability. MORTLAND is a “physically disabled
21
     person,” as defined by all applicable United States laws. MORTLAND is paralyzed as a result of
22
     a motorcycle accident and requires the use of a wheelchair for mobility and to travel in public.
23

24          13. At all times referred to herein and continuing to the present time, Defendant

25   advertised, publicized and held out HAMPTON INN STOW as being handicapped accessible
26
     and handicapped usable.
27
            14. On or about April 4, 2019 through April 5, 2019, MORTLAND was an invitee and
28
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1    guest at the subject hotel, arriving for purposes of obtaining lodging for the night.
2
             15. Upon his arrival, during his patronizing of the public accommodations, and upon his
3
     exit of the facility, MORTLAND personally encountered architectural barriers which denied him
4
     the full and equal access to the property.
5

6            16. Therefore, at said time and place, MORTLAND, a person with a disability,

7    encountered the following inaccessible elements of the subject HAMPTON INN STOW which
8
     constituted architectural barriers and a denial of the proper and legally required access to a public
9
     accommodation to persons with physical disabilities. By way of example and not as an
10
     exhaustive inventory of Defendant’s violations, the following barriers to access were personally
11

12   encountered by MORTLAND:

13      a. In the front entrance parking lot, the access aisle is not a minimum 8 feet wide in violation of
           2010 ADAS Section: 502.2 Exception, 2009 ANSI A117.1 Section: 502.2 Exception and 1991
14         ADAS Section: 4.1.2(1).
15
        b. In the front entrance parking lot, the parking signs at the front entrance are mounted too low in
16         violation of 2010 ADAS Section: 502.6 and 2009 ANSI A117.1 Section: 502.7.

17      c. In the front entrance parking lot, the running slope of the access aisle (long dimension) exceeds
           2% in violation of 2010 ADAS Section: 502.4, 2009 ANSI A117.1 Section: 502.5 and 1991
18         ADAS Section: 4.6.3.
19
        d. In the front entrance parking lot, the curb ramp slope exceeds the maximum running slope
20         (Parallel to the direction of travel) allowable of 8.33% in violation of 2010 ADAS Section: 406.1,
           2009 ANSI A117.1 Section: 406.1 and 1991 ADAS Section: 4.8.2.
21
        e. In the front entrance parking lot, the transition from the curb ramp to the walk, gutter or street is
22         not flush and free of abrupt changes in level in violation of 2010 ADAS Section: 406.2, 2009
           ANSI A117.1 Section: 406.2 and 1991 ADAS Section: 4.7.2.
23
        f.   In the front entrance parking lot, the curb ramp on the accessible route contains cross slopes
24
             greater than 2% in violation of 2010 ADAS Section: 405.3, 2009 ANSI A117.1 Section: 405.3
25           and 1991 ADAS Section: 4.3.7.

26      g. At the exterior accessible route, the north side of the front walkway contains abrupt vertical edges
           and/or variations over a 1/4 inch in violation of 2010 ADAS Section: 303.3, 303.2, 2003 ANSI
27         A117.1 Section: 303.2, 303.3 and 1991 ADAS Section: 4.5.2.
28
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1        h. At the exterior accessible route, the back walkway contains abrupt vertical edges and/or
            variations over a 1/4 inch in violation of 2010 ADAS Section: 303.3, 303.2, 2003 ANSI A117.1
2           Section: 303.2, 303.3 and 1991 ADAS Section: 4.5.2.
3
         i.   At the exterior accessible route, the south side of the front walkway contains abrupt vertical edges
4             and/or variations over a 1/4 inch in violation of 2010 ADAS Section: 303.3, 303.2, 2003 ANSI
              A117.1 Section: 303.2, 303.3 and 1991 ADAS Section: 4.5.2.’
5
         j.    At the exterior accessible route, the accessible route of travel on the south side of the front walk
6             contains cross slopes greater than 2% in violation of 2010 ADAS Section: 403.3, 2009 ANSI
              A117.1 Section: 403.3 and 1991 ADAS Section: 4.3.7.
7

8        k. At the North Hall exit, the walkway contains abrupt vertical edges and/or variations over a 1/4
            inch in violation of2010 ADAS Section: 303.3, 303.2, 2003 ANSI A117.1 Section: 303.2, 303.3
9           and 1991 ADAS Section: 4.5.2
     .
10       l.   At the North Hall exit, the landing at the entrance door exceeds 2% slope in violation of 2010
              ADAS Section: 404.2.4.4, 2009 ANSI A117.1 Section: 404.2.3.1 and 1991 ADAS Section:
11            4.13.6.
12
         m. At the North Hall exit, the threshold has a vertical change greater than 1/4 inch high in violation
13          of 2010 ADAS Section: 404.2.5, 2009 ANSI A117.1 Section: 404.2.4 and 1991 ADAS Section:
            4.13.8.
14
         n. At the East (back) Entry, the parking signs at the back entrance are mounted too low.2010 ADAS
15          Section: 502.6 and 2009 ANSI A117.1 Section: 502.7.

16       o. At the East (back) Entry, the running slope of the access aisle (long dimension) exceeds 2% in
            violation of 2010 ADAS Section: 502.4, 2009 ANSI A117.1 Section: 502.5 and 1991 ADAS
17
            Section: 4.6.3.
18
         p. At the East (back) Entry, the landing at the entrance door exceeds 2% slope in violation of 2010
19          ADAS Section: 404.2.4.4, 2009 ANSI A117.1 Section: 404.2.3.1 and 1991 ADAS Section:
            4.13.6
20
         q. At the East (back) Entry, the threshold has a vertical change greater than 1/4 inch high in
21
            violation of 2010 ADAS Section: 404.2.5, 2009 ANSI A117.1 Section: 404.2.4 and 1991 ADAS
22          Section: 4.13.8.

23       r.   At the East (back) Entry, the walkway contains abrupt vertical edges and/or variations over a 1/4
              inch in violation of 2010 ADAS Section: 303.3, 303.2, 2003 ANSI A117.1 Section: 303.2, 303.3
24            and 1991 ADAS Section: 4.5.2.

25       s. At the South Hall Exit, the doormat is not secured in place at the entry door in violation of 2010
            ADAS Section: 302.2, 2009 ANSI A117.1 Section: 302.2 and 1991 ADAS Section: 4.5.3.
26

27       t.   At the South Hall Exit, the landing on the pull side of the doors does not extend far enough on the
              latch side in violation of 2010 ADAS Section: 404.2.4.1, 2009 ANSI A117.1 Section: 404.2.3.2
28            and 1991 ADAS Section: 4.13.6.
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1
         u. At the South Hall Exit, the threshold has a vertical change greater than 1/4 inch high in violation
2           of 2010 ADAS Section: 404.2.5, 2009 ANSI A117.1 Section: 404.2.4 and 1991 ADAS Section:
            4.13.8.
3

4        v. At the South Hall Exit, the landing at the entrance door exceeds 2% slope in violation of 2010
             ADAS Section: 404.2.4.4, 2009 ANSI A117.1 Section: 404.2.3.1 and 1991 ADAS Section:
5            4.13.6.
     w.      At the passenger loading zone, the required access aisle is missing in violation of 2010 ADAS
6    Section: 503.3.
7
         x. At the passenger loading zone, the access aisle is not marked as to discourage parking in it in
8           violation of 2010 ADAS Section: 503.3.3.

9        y. At the passenger loading zone, the access aisle surface is not firm, stable, and slip-resistant in
            violation of 2010 ADAS Section: 503.4, 302.1.
10
         z. At the passenger loading zone, the access aisle sidewalk is not at the same level as the vehicle
11          pull-up space in violation of 2010 ADAS Section: 503.4.
12
         aa. At the passenger loading zone, the running slope (long dimension) and the cross slope (narrow
13           dimension) of the access aisle serving the pull-up space exceed 2% in violation of 2010 ADAS
             Section: 503.4, 503.4 Exception.
14
         bb. At the passenger loading zone, the cross slope (narrow dimension) of the vehicle pull-up space
15           exceeds 2% in violation of 2010 ADAS Section: 503.4, 503.4 Exception.
16
         cc. In the lobby/front desk area, the landing at the sliding door exceeds 2% slope in violation of
17           2010 ADAS Section: 404.2.4.4.

18       dd. In the lobby/front desk area, the sales and service counter is not a minimum 36 inches wide in
             violation of 2010 ADAS Section: 904.4 and 2009 ANSI A117.1 Section: 904.3.1.
19
         ee. In the lobby/front desk area, the brochures are not accessible because there is not adequate clear
20           floor space for an approach in violation of 2010 ADAS Section: 305.3, 2009 ANSI A117.1
             Section: 305.3 and 1991 ADAS Section: 4.2.4.1.
21

22       ff. In the lobby/front desk area, the coffee, condiments, and cups are not accessible because they are
             located over an obstruction greater than 34 inches tall in violation of 2010 ADAS Section:
23           308.3.2, 2009 ANSI A117.1 Section: 308.3.2 and 1991 ADAS Section: 4.2.6.

24       gg. In the lobby/front desk area the coffee, condiments, and cups are too high and out of the
             maximum reach range for a side approach in violation of 2010 ADAS Section: 308.3.2, 2009
25
             ANSI A117.1 Section: 308.3.2 and 1991 ADAS Section: 4.2.6.
26
         hh. In the breakfast area, the breakfast items, dining ware, condiments and utensils are not accessible
27           because they are located over an obstruction greater than 34 inches tall in violation of 2010
             ADAS Section: 308.3.2, 2009 ANSI A117.1 Section: 308.3.2 and 1991 ADAS Section: 4.2.6.
28
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1       ii. In the breakfast area, the breakfast items, dining ware, condiments, and utensils are too high and
            out of the maximum reach range for a side approach in violation of 2010 ADAS Section: 308.3.2,
2           2009 ANSI A117.1 Section: 308.3.2 and 1991 ADAS Section: 4.2.6.
3
        jj. At the pool, the pool rescue hook is not accessible because there is not adequate clear floor space
4           for an approach in violation of 2010 ADAS Section: 305.3, 2009 ANSI A117.1 Section: 305.3
            and 1991 ADAS Section: 4.2.4.1.
5
        kk. At the pool, compliant knee and/or toe clearance is not provided in violation of 2010 ADAS
6           Section: 306.2.1, 2003 ANSI A117.1 Section: 306.2.1 and 1991 ADAS Section 4.32.3.
7
        ll. At the pool, at the time of the evaluation, the lift had a protective cover on it and was not
8           accessible without assistance in violation of 2010 ADAS Section: 242.2.

9       mm.       At the pool, the first aid kit is not accessible because there is not adequate clear floor
          space for an approach in violation of 2010 ADAS Section: 305.3, 2009 ANSI A117.1 Section:
10        305.3 and 1991 ADAS Section: 4.2.4.1.

11      nn. At the pool, the outdoor shower is noncompliant in violation of 2010 ADAS Section: 608.6 and
            2009 ANSI A117.1 Section: 608.5.
12

13      oo. At the pool area, the restroom door operating hardware is not accessible in violation of 2010
            ADAS Section: 404.2.7, 2003 ANSI A117.1 Section: 404.2.6 and 1991 ADAS Section: 4.13.9.
14
        pp. At the pool area, the door exceeds the maximum pressure to open the door in violation of 2010
15          ADAS Section: 404.2.9, 2003 ANSI A117.1 Section: 309.4 and 1991 ADAS Section: 4.13.11(1).
16
        qq. At the pool area, the operating hardware is not accessible because it requires tight grasping,
17          pinching or twisting of the wrist to operate in violation of 2010 ADAS Section: 309.4, 2009
            ANSI A117.1 Section: 309.4 and 1991 ADAS Section: 4.13.9.
18
        rr. At the pool area, the water and drain pipes under the lavatory are not adequately insulated in
19          violation of 2010 ADAS Section: 606.5, 2009 ANSI A117.1 Section: 606.6 and 1991 ADAS
            Section: 4.19.4.
20

21      ss. At the pool area, compliant knee space has not been provided under the lavatory in violation of
            2010 ADAS Section: 306.3.1 and 2009 ANSI A117.1 Section: 306.3.1.
22
        tt. At the pool area, the toilet paper is not installed within the compliant range in violation of 2010
23          ADAS Section: 604.7.

24      uu. At the pool area, the rear grab bar does not extend adequately past the toilet on the wide side in
            violation of 2010 ADAS Section: 604.5.2, 2009 ANSI A117.1 Section: 604.5.2 and 1991 ADAS
25
            Section: 4.17.6.
26
        vv. At the pool area, the toilet is not located within the range allowed from the sidewall or partition in
27          violation of 2010 ADAS Section: 604.2 and 2009 ANSI A117.1 Section: 604.2.

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1       ww.      At the pool area, the side grab bar is too high in violation of 2010 ADAS Section: 609.4,
           2009 ANSI A117.1 Section: 609.4.1 and 1991 ADAS Section: 4.17.6.
2
        xx. At the pool area, the coat hook is installed greater than 48 inches above the finished floor in
3
            violation of 2010 ADAS Section: 308.2.1, 2009 ANSI A117.1 Section: 308.2.1 and 1991 ADAS
4           Section: 4.2.5.

5       yy. At the fitness center, the door exceeds the maximum pressure to open the door in violation of
            2010 ADAS Section: 404.2.9, 2003 ANSI A117.1 Section: 309.4 and 1991 ADAS Section:
6           4.13.11(1).
7
        zz. At the fitness center, the coat hook is installed greater than 48 inches above the finished floor in
8           violation of 2010 ADAS Section: 308.2.1, 2009 ANSI A117.1 Section: 308.2.1 and 1991 ADAS
            Section: 4.2.5.
9
        aaa. At the fitness center, the cups are not accessible because they are located over an obstruction
10           greater than 34 inches tall in violation of 2010 ADAS Section: 308.3.2, 2009 ANSI A117.1
             Section: 308.3.2 and 1991 ADAS Section: 4.2.6.
11
        bbb.       At the fitness center, the cups are too high and out of the maximum reach range for a side
12
            approach in violation of 2010 ADAS Section: 308.3.2, 2009 ANSI A117.1 Section: 308.3.2 and
13          1991 ADAS Section: 4.2.6.

14      ccc. At the fitness center, the scale is not accessible because there is not adequate clear floor space for
             an approach in violation of 2010 ADAS Section: 305.3, 2009 ANSI A117.1 Section: 305.3 and
15           1991 ADAS Section: 4.2.4.1.
16
        ddd.        In the business center, the door exceeds the maximum pressure to open the door in
17          violation of 2010 ADAS Section: 404.2.9, 2003 ANSI A117.1 Section: 309.4 and 1991 ADAS
            Section: 4.13.11(1).
18
        eee. In the business center, the desk, printer and computer are not accessible because there is not an
19           accessible route adjacent to the clear floor space in violation of 2010 ADAS Section: 305.6, 2009
             ANSI A117.1 Section: 305.6 and 1991 ADAS Section: 4.2.4.2.
20
        fff. In the business center, the maneuvering clearance at the door is obstructed in violation of 2010
21
             ADAS Section: 404.2.4.1, 2009 ANSI A117.1 Section: 404.2.3.1 and 1991 ADAS Section:
22           4.13.6.

23      ggg.        In the men’s public restroom, the door exceeds the maximum pressure to open the door in
            violation of 2010 ADAS Section: 404.2.9, 2003 ANSI A117.1 Section: 309.4 and 1991 ADAS
24          Section: 4.13.11(1).
25
        hhh.        In the men’s public restroom, the mirror is mounted too high in violation of 2010 ADAS
26          Section: 603.3 and 2009 ANSI A117.1 Section: 1002.11.2.2.

27      iii. In the men’s public restroom, the baby changing table operating mechanism is outside reaching
             range in violation 2010 ADAS Section: 308.3.1 and 2009 ANSI A117.1 Section: 308.3.1.
28
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1       jjj. In the men’s public restroom, the compartment door is not self closing in violation of 2010
             ADAS Section: 604.8.1.2 and 2009 ANSI A117.1 Section: 604.9.3.
2
        kkk.        In the men’s public restroom, the water closet compartment door is missing a loop handle
3
            on the outside in violation of 2010 ADAS Section: 604.8.1.2, 2009 ANSI A117.1 Section:
4           604.9.3 and 1991 ADAS Section: 4.17.5.

5       lll. In the men’s public restroom, the flush handle is located on the wrong side of the toilet in
             violation of 2010 ADAS Section: 604.6 and 2009 ANSI A117.1 Section: 604.6.
6
        mmm.      In the men’s public restroom, the side grab bar is too high in violation of 2010 ADAS
7
          Section: 609.4, 2009 ANSI A117.1 Section: 609.4.1 and 1991 ADAS Section: 4.17.6.
8
        nnn.        In the men’s public restroom, the rear grab bar does not extend adequately past the toilet
9           on the wide side in violation of 2010 ADAS Section: 604.5.2, 2009 ANSI A117.1 Section:
            604.5.2 and 1991 ADAS Section: 4.17.6.
10
        ooo.        In guest room 124, the door exceeds the maximum pressure to open the door in violation
11          of 2010 ADAS Section: 404.2.9, 2003 ANSI A117.1 Section: 309.4 and 1991 ADAS Section:
            4.13.11(1).
12

13      ppp.        In guest room 124, compliant knee and/or toe clearance is not provided in violation of
            2010 ADAS Section: 306.2.1, 2003 ANSI A117.1 Section: 306.2.1 and 1991 ADAS Section:
14          4.32.3.

15      qqq.         In guest room 124, the drape wands are too high and is out of the maximum reach range
            for a side approach in violation of 2010 ADAS Section: 308.3.1 and 2009 ANSI A117.1 Section:
16          308.3.1.
17
        rrr. In guest room 124, the drape wands are not accessible because they require tight grasping,
18           pinching or twisting of the wrist in violation of 2010 ADAS Section: 309.4
           1991 ADAS Section: 4.27.4.
19
        sss. In guest room 124, the lamp is not accessible because there is not adequate clear floor space for
20           an approach in violation of 2010 ADAS Section: 305.3 and 1991 ADAS Section: 4.2.4.1.
21
        ttt. In guest room 124, the water and drain pipes under the lavatory are not adequately insulated in
22           violation of 2010 ADAS Section: 606.5 and 1991 ADAS Section: 4.19.4.

23      uuu.       In guest room 124, the mirror is mounted too high in violation of 2010 ADAS Section:
            603.3.
24
        vvv.      In guest room 124, the handheld sprayer unit is mounted too high in violation of 2010
25
            ADAS Section: 608.6 and 1991 ADAS Section: 4.21.6.
26
        www.       In guest room 124, the handheld sprayer unit is not equipped with a non-positive on/off
27        control in violation of 2010 ADAS Section: 608.6.

28
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1       xxx.      In guest room 124, the operable parts of controls are not located correctly in violation of
            2010 ADAS Section: 608.5.2.
2
        yyy.         In guest room 124, the shower seat height is noncompliant in violation of 2010 ADAS
3
            Section: 610.3 and 1991 ADAS Section: 4.21.3.
4
        zzz. In guest room 124, the grab bar is not positioned correctly in violation of 2010 ADAS Section:
5            609.4 and 1991 ADAS Section: 4.21.4.

6       aaaa.       In guest room 124, the rear grab bar is too high in violation of 2010 ADAS Section:
            609.4 and 1991 ADAS Section: 4.17.
7

8       bbbb.       In guest room 124, the toilet is not located within the range allowed from the side wall or
           partition in violation of 2010 ADAS Section: 604.2.
9
        cccc.       In guest room 124, the rear grab bar does not extend adequately past the toilet on the
10          wide side in violation of 2010 ADAS Section: 604.5.2 and 1991 ADAS Section: 4.17.6.
11
        dddd.      In guest room 124, the side grab bar is too high in violation of 2010 ADAS Section:
12         609.4 and 1991 ADAS Section: 4.17.6

13      eeee.       In guest room 124, the shelf is mounted too close to the top of the grab bar, minimizing
            the gripping surface in violation of 2010 ADAS Section: 609.3.
14
        ffff. In guest room 124, the shelf or storage facility is positioned too high for either a side or front
15            approach in violation of 2010 ADAS Section: 308.2.1, 308.3.1.
16
        gggg.      In guest room 124, accessible guest rooms are not dispersed among the various classes of
17         sleeping accommodations in violation of 2010 ADAS Section: 224.5 and 1991 ADAS Section:
           9.1.4.
18
        hhhh.      In other guest rooms, there are not enough accessible rooms designed with mobility
19         features in violation of 2010 ADAS Section: 224.2 and 1991 ADAS Section: 9.1.2
20
        iiii. In other guest rooms, there are not enough rooms designed for hearing impaired in violation of
21            2010 ADAS Section: 224.4 and 1991 ADAS Section: 9.1.3.

22      jjjj. On personal knowledge, information and belief, other public facilities and
     elements too numerous to list were improperly inaccessible for use by persons with physical
23   disabilities.
24
            17. The discriminatory violations described in ¶ 16 are not an exclusive list of the
25
     Defendant’s violations. MORTLAND requires the inspection of the Defendant’s place of public
26

27
     accommodation in order to photograph and measure all of the discriminatory acts violating the

28   Americans with Disability Act of 1990 (“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 et seq.
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1           18. At all times stated herein, the existence of architectural barriers at Defendant’s
2
     place of public accommodation evidenced “actual notice” of Defendant’s intent not to comply
3
     with the Americans with Disability Act of 1990 (“title III” and “ADA”), 42. U.S.C. §§ 12181 et
4
     seq., and Ohio law, either then, now or in the future.
5

6           19. As a legal result of Defendant’s failure to act as a reasonable and prudent public

7    accommodation in identifying, removing or creating architectural barriers, policies, practices and
8
     procedures that denied access to MORTLAND and other persons with disabilities, MORTLAND
9
     suffered damages as alleged herein.
10
            20. As a further legal result of the actions and failure to act of Defendant, and as a
11

12   legal result of the failure to provide proper handicapped-accessible public facilities as set forth

13   herein, MORTLAND was denied his civil rights to full and equal access to public facilities.
14
     MORTLAND suffered a loss of his civil rights and his rights as a person with physical
15
     disabilities to full and equal access to public facilities, and further suffered from injury, shame,
16
     humiliation, embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally
17

18   associated with a person with physical disabilities being denied access, all to his damages as

19   prayed hereinafter in an amount within the jurisdiction of this court.
20
            21. MORTLAND is “physically handicapped,” “physically disabled,” or a “person with
21
     physical disabilities” who was denied his rights to equal access to a public facility by Defendant.
22
     Defendant maintains a public establishment without access for persons with physical disabilities
23

24   as stated herein, and continues as of the date of filing this complaint to deny equal access to

25   MORTLAND and other persons with physical disabilities in these and other ways.
26
            22. On information and belief, construction alterations carried out by Defendant have
27
     triggered access requirements under Americans with Disability Act of 1990 (“TITLE III” AND
28
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1    “ADA”), 42. U.S.C. §§ 12181 et seq, and Ohio law.
2
             23. MORTLAND, as described herein below, seeks injunctive relief to require
3
     HAMPTON INN STOW to be made accessible to meet the requirements of the Americans with
4
     Disabilities Act, so long as Defendant operates and/or leases HAMPTON INN STOW as a
5

6    public facility.

7            24. On information and belief, Defendant has been negligent in its affirmative duty
8
     to identify the architectural barriers complained of herein and negligent in the removal of some
9
     or all of said barriers.
10
             25. Because of Defendant’s violations, MORTLAND and other persons with physical
11

12   disabilities are unable to use public facilities such as those owned and operated by Defendant on

13   a “full and equal” basis unless such facility is in compliance with the provisions of the
14
     Americans with Disabilities Act and other accessibility law as plead herein. MORTLAND seeks
15
     an order from this court compelling Defendant to make HAMPTON INN STOW accessible to
16
     persons with disabilities.
17

18           26. On information and belief, Defendant has intentionally undertaken to modify and

19   alter existing building(s), and have failed to make them comply with accessibility requirements.
20
     The acts and omissions of Defendant in failing to provide the required accessible public facilities
21
     at the time of MORTLAND’s visit and injuries, indicate actual and implied malice towards
22
     MORTLAND, and despicable conduct carried out by Defendant with a willful and conscious
23

24   disregard for the rights and safety of MORTLAND and other similarly situated persons, and

25   justify punitive damages pursuant to Ohio Revised Code § 2315.21, in amounts sufficient to
26
     make a more profound example of Defendant to other operators of other establishment and other
27
     public facilities, and to punish Defendant and to carry out the purposes of § 2315.21.
28
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1           27. MORTLAND is informed and believes and therefore alleges that Defendant caused
2
     the subject facility to be constructed, altered and maintained in such a manner that persons with
3
     physical disabilities were denied full and equal access to, within and throughout said building of
4
     Defendant and were denied full and equal use of said public facilities. Further, on information
5

6    and belief, Defendant has continued to maintain and operate said facilities in such conditions up

7    to the present time, despite actual and constructive notice to such Defendant that the
8
     configuration of the establishment and/or its building(s) is in violation of the civil rights of
9
     persons with physical disabilities, such as MORTLAND and the disability community. Such
10
     construction, modification, ownership, operation, maintenance and practices of such public
11

12   facilities are in violation of law as stated in Americans with Disability Act of 1990 (“TITLE III”

13   AND “ADA”), 42. U.S.C. §§ 12181 et seq. and Ohio law.
14
            28. On personal knowledge, information and belief, the basis of Defendant’s actual
15
     and constructive notice that the physical configuration of the facilities including, but not limited
16
     to, architectural barriers constituting HAMPTON INN STOW was in violation of the civil rights
17

18   of persons with physical disabilities, such as MORTLAND, includes, but is not limited to,

19   communications with invitees and guests, owners of other establishments and businesses, notices
20
     Defendant obtained from governmental agencies upon modification, improvement, or substantial
21
     repair of the subject premises and other properties owned by this Defendant, newspaper articles
22
     and trade publications regarding the Americans with Disabilities Act and other access laws,
23

24   public service announcements, and other similar information. Defendant’s failure, under federal

25   law, to make the establishment accessible is further evidence of Defendant’s conscious disregard
26
     for the rights of MORTLAND and other similarly situated persons with disabilities. The scope
27
     and means of the knowledge of Defendant are within Defendant’s exclusive control and cannot
28
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1    be ascertained except through discovery. Despite being informed of such effect on MORTLAND
2
     and other persons with physical disabilities due to the lack of accessible facilities, Defendant
3
     knowingly and willfully refused to take any steps to rectify the situation and to provide full and
4
     equal access for MORTLAND and other persons with physical disabilities to the establishment.
5

6    Said Defendant has continued such practices, in conscious disregard for the rights MORTLAND

7    and other persons with physical disabilities, up to the date of filing of this complaint, and
8
     continuing thereon. Defendant has further actual knowledge of the architectural barriers referred
9
     to herein by virtue of the demand letter addressed to the Defendant. Said conduct, with
10
     knowledge of the effect it was and is having on MORTLAND and other persons with physical
11

12   disabilities, constitutes despicable conduct in conscious disregard of the rights and safety of

13   MORTLAND and of other similarly situated persons, justifying the imposition of punitive
14
     damages.
15
            29. Punitive Damages -- Defendant, at times prior to and including April 4, 2019 through
16
     April 5, 2019 and continuing to the present time, knew that persons with physical disabilities
17

18   were denied their rights of equal access to all portions of this public facility. Despite such

19   knowledge, Defendant failed and refused to take steps to comply with the applicable access
20
     statutes; and despite knowledge of the resulting problems and denial of civil rights thereby
21
     suffered by MORTLAND and other similarly situated persons with disabilities, including the
22
     specific notices referred to in paragraph 28 of this complaint. Defendant has failed and refused to
23

24   take action to grant full and equal access to persons with physical disabilities in the respects

25   complained of hereinabove. Defendant has carried out a course of conduct of refusing to respond
26
     to, or correct complaints about, denial of handicap access and has refused to comply with its
27
     legal obligations to make HAMPTON INN STOW accessible pursuant to the Americans with
28
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1    Disabilities Act. Such actions and continuing course of conduct by Defendant evidence
2
     despicable conduct in conscious disregard for the rights or safety of MORTLAND and of other
3
     similarly situated persons, justifying an award of punitive damages.
4
            30. Defendant’s actions have also been oppressive to persons with physical
5

6    disabilities and of other members of the public, and have evidenced actual or implied malicious

7    intent toward those members of the public, such as MORTLAND and other persons with
8
     physical disabilities who have been denied the proper access they are entitled to by law. Further,
9
     Defendant’s refusals on a day-to-day basis to remove the barriers complained of herein evidence
10
     despicable conduct in conscious disregard for the rights of MORTLAND and other members of
11

12   the public with physical disabilities.

13          31. MORTLAND prays for an award of punitive damages against Defendant in an
14
     amount sufficient to make a more profound example of Defendant and discourage owners and
15
     operators of other establishments, and other public facilities, from willful disregard of the rights
16
     of persons with physical disabilities. Plaintiff does not know the financial worth of Defendant
17

18   and seeks leave to amend this complaint when such facts are known.

19          32. MORTLAND will return to HAMPTON INN STOW, because he enjoys the hotel’s
20
     amenities and the location is convenient for business that he is conducting in Summit County,
21
     Ohio, if HAMPTON INN STOW is made fully accessible to a disabled person in a wheelchair,
22
     and to also avail himself of the hotel’s services. Furthermore, MORTLAND intends to return to
23

24   HAMPTON INN STOW as an ADA tester to ascertain whether Defendant removed the barriers

25   to access which are the subject of this litigation.
26
     I.     FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A PUBLIC
27          ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
            DISABILITIES ACT OF 1990 (42 U.S.C. §12101, et seq.)
28
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1           33.     MORTLAND pleads and incorporate by reference, as if fully set forth again
2
     herein, the allegations contained in paragraphs 1 through 32 of this complaint.
3
            34.     Pursuant to law, in 1990, the United States Congress made findings per 42 U.S.C.
4
     §12101 regarding persons with physical disabilities, finding that laws were needed to more fully
5

6    protect:

7                   some 43 million Americans with one or more physical or mental
                    disabilities; [that] historically society has tended to isolate and
8
                    segregate individuals with disabilities; [that] such forms of
9                   discrimination against individuals with disabilities continue to be a
                    serious and pervasive social problem; [that] the nation’s proper
10                  goals regarding individuals with disabilities are to assure equality
                    of opportunity, full participation, independent living and economic
11
                    self-sufficiency for such individuals; [and that] the continuing
12                  existence of unfair and unnecessary discrimination and prejudice
                    denies people with disabilities the opportunity to compete on an
13                  equal basis and to pursue those opportunities for which our free
                    society is justifiably famous.
14

15          35.     Congress stated as its purpose in passing the Americans with Disabilities Act of

16   1990 (42 U.S.C. §12102):
17
                    It is the purpose of this act (1) to provide a clear and
18                  comprehensive national mandate for the elimination of
                    discrimination against individuals with disabilities; (2) to provide
19                  clear, strong, consistent, enforceable standards addressing
                    discrimination against individuals with disabilities; (3) to ensure
20
                    that the Federal government plays a central role in enforcing the
21                  standards established in this act on behalf of individuals with
                    disabilities; and (4) to invoke the sweep of Congressional
22                  authority, including the power to enforce the 14th Amendment and
                    to regulate commerce, in order to address the major areas of
23
                    discrimination faced day to day by people with disabilities.
24
            36.     As part of the Americans with Disabilities Act of 1990, (hereinafter the “ADA”),
25
     Congress passed “Title III - Public Accommodations and Services Operated by Private Entities”
26

27   (Section 301 42 U.S.C. §12181, et seq.). Among the public accommodations identified for

28   purposes of this title was:
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1                   (7) PUBLIC ACCOMMODATION - The following private
                    entities are considered public accommodations for purposes of this
2
                    title, if the operations of such entities affect commerce -
3                   ...
                    (B) an entertainment facility, bar, or other establishment serving food or drink;
4
                    42 .S.C. §12181(7)(B).
5

6           37.     Pursuant to §302, 42 U.S.C. §12182, “No individual shall be discriminated

7    against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,
8
     privileges, advantages, or accommodations of any place of public accommodation by any person
9
     who owns, leases, or leases to, or operates a place of public accommodation.”
10
            38.     The specific prohibitions against discrimination set forth in §302(b)(2)(a),
11

12   42 U.S.C. §12182(b)(2)(a) are:

13                  (i) the imposition or application of eligibility criteria
                    that screen out or tend to screen out an individual with a disability
14
                    or any class of individuals with disabilities from fully and equally
15                  enjoying any goods, services, facilities, privileges, advantages, or
                    accommodations, unless such criteria can be shown to be
16                  necessary for the provision of the goods, services, facilities,
                    privileges, advantages, or accommodations being offered;
17

18                  (ii) a failure to make reasonable modifications in
                    policies, practices, or procedures, when such modifications are
19                  necessary to afford such goods, services, facilities, privileges,
                    advantages or accommodations to individuals with disabilities,
20
                    unless the entity can demonstrate that making such modifications
21                  would fundamentally alter the nature of such goods, services,
                    facilities, privileges, advantages, or accommodations;
22
                    (iii) a failure to take such steps as may be necessary to
23
                    ensure that no individual with a disability is excluded, denied
24                  services, segregated or otherwise treated differently than other
                    individuals because of the absence of auxiliary aids and services,
25                  unless the entity can demonstrate that taking such steps would
                    fundamentally alter the nature of the good, service, facility,
26
                    privilege, advantage, or accommodation being offered or would
27                  result in an undue burden;

28                  (iv) a failure to remove architectural barriers, and
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1                    communication barriers that are structural in nature, in existing
                     facilities . . . where such removal is readily achievable; and
2

3                    (v) where an entity can demonstrate that the removal of
                     a barrier under clause (iv) is not readily achievable, a failure to
4                    make such goods, services, facilities, privileges, advantages or
                     accommodations available through alternative methods if such
5
                     methods are readily achievable.
6
     The acts of Defendant set forth herein were a violation of MORTLAND’s rights under the ADA,
7
     42. U.S.C. §§ 12181 et seq.
8

9            39.     The removal of the barriers complained of by MORTLAND as hereinabove

10   alleged was at all times after January 26, 1992 “readily achievable” as to the subject HAMPTON
11
     INN STOW pursuant to 42 U.S.C. §12182 (b)(2)(A)(i)-(iv). On information and belief, if the
12
     removal of all the barriers complained of herein together was not “readily achievable,” the
13
     removal of each individual barrier complained of herein was “readily achievable.” On
14

15   information and belief, Defendant’s failure to remove said barriers was likewise due to

16   discriminatory practices, procedures and eligibility criteria, as defined by §302(b)(2)(a)(i)-(iii);
17
     42 U.S.C. §12182 (b)(2)(A)(i).
18
             40.     Per §301(9), 42 U.S.C. §12181 (9), the term “readily achievable” means “easily
19
     accomplishable and able to be carried out without much difficulty or expense.” The statute
20

21   defines relative “expense” in part in relation to the total financial resources of the entities

22   involved. MORTLAND alleges that properly repairing, modifying, or altering each of the items
23
     that plaintiff complains of herein were and are “readily achievable” by the Defendant under the
24
     standards set forth under §301(9) of the Americans with Disabilities Act. Further, if it was not
25
     “readily achievable” for Defendant to remove each of such barriers, Defendant have failed to
26

27   make the required services available through alternative methods which were readily achievable.

28           41.     On information and belief, construction work on, and modifications of, the
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1    subject building of HAMPTON INN STOW occurred after the compliance date for the
2
     Americans with Disabilities Act, January 26, 1992, independently triggering access requirements
3
     under Title III of the ADA.
4
              42.    Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12188, et
5

6    seq., §308, MORTLAND is entitled to the remedies and procedures set forth in §204(a) of the

7    Civil Rights Act of 1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to discrimination
8
     on the basis of disability in violation of this title or have reasonable grounds for believing that
9
     he is about to be subjected to discrimination in violation of §302. MORTLAND cannot return to
10
     or make use of the public facilities complained of herein so long as the premises and Defendant’s
11

12   policies bar full and equal use by persons with physical disabilities.

13            43.    Per §308(a)(1) (42 U.S.C. 12188), “Nothing in this section shall require a person
14
     with a disability to engage in a futile gesture if such person has actual notice that a person or
15
     organization covered by this title does not intend to comply with its provisions.” Pursuant to this
16
     last section, MORTLAND has not returned to Defendant’s premises since on or about April 4,
17

18   2019 through April 5, 2019, but on information and belief, alleges that Defendant have continued

19   to violate the law and deny the rights of plaintiff and of other persons with physical disabilities to
20
     access this public accommodation. Pursuant to §308(a)(2), “In cases of violations of
21
     §302(b)(2)(A)(iv) . . . injunctive relief shall include an order to alter facilities to make such
22
     facilities readily accessible to and usable by individuals with disabilities to the extent required by
23

24   this title.”

25            44.    MORTLAND seeks relief pursuant to remedies set forth in §204(a) of the Civil
26
     Rights Act of 1964 (42 U.S.C. 2000(a)-3(a)), and pursuant to federal regulations adopted to
27
     implement the Americans with Disabilities Act of 1990, including but not limited to an order
28
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1    granting injunctive relief and attorneys’ fees. MORTLAND will seek attorneys’ fees conditioned
2
     upon being deemed to be the prevailing party.
3
               Wherefore, Plaintiff DEREK MORTLAND prays for relief and damages as hereinafter
4
     stated.
5

6    II.       SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
               IN VIOLATION OF OHIO REVISED CODE § 4112.02, et seq.
7
               45.   Plaintiff repleads and incorporates by reference as if fully set forth again herein,
8

9    the allegations contained in paragraphs 1 through 44 of this complaint.

10             46.   At all times relevant to this action, Ohio Revised Code § 4112.0254 has provided
11
     that persons with physical disabilities are not to be discriminated against because of physical
12
     handicap or disability. This section provides that:
13
                     It shall be an unlawful discriminatory practice:
14

15                   (G)    For any proprietor or any employee, keeper, or manager of a place of
                            public accommodation to deny to any person, except for reasons
16                          applicable alike to all persons regardless of race, color, religion, sex,
                            military status, national origin, disability, age, or ancestry, the full
17
                            enjoyment of the accommodations, advantages, facilities, or privileges of
18                          the place of public accommodation.

19             47.   HAMPTON INN STOW is a “place of public accommodation” pursuant to Ohio
20
     Revised Code § 4112.01(A)(9).
21
               48.   Defendant committed an unlawful act pursuant to Ohio Revised Code
22
     §4112.02(G) by denying MORTLAND the full enjoyment of its accommodations, advantages,
23

24   facilities, or privileges, whereas, MORTLAND had great difficulty due to extensive barriers for

25   patrons confined to wheelchairs.
26
               49.   Pursuant to Ohio Revised Code § 4112.99, MORTLAND is entitled to
27
     compensatory and punitive damages, and attorney fees and costs, in an amount to be determined
28
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1    at trial, but in any event not less than $25,000.00, as well as issuance of an injunction requiring
2
     defendant to allow full and equal enjoyment of its goods, services, facilities, privileges, and
3
     advantages to disabled persons.
4
              50.    A separate act in violation of Ohio Revised Code § 4112.02(G) has been
5

6    committed each day that Defendant acts or fail to act and/or knowingly and willfully fails and

7    refuses to remove each architectural barrier or policy and procedure barrier presently existing at
8
     the subject public accommodation which denies full and equal access for persons with physical
9
     disabilities to said building(s), elements and facilities of HAMPTON INN STOW. MORTLAND
10
     has been denied full and equal access on an ongoing basis since the date of his first visit. As a
11

12   legal result, MORTLAND is entitled to seek appropriate relief, such as damages, pursuant to

13   Ohio Revised Code § 4112.99.
14
              51.    On or about April 4 through April 5, 2019, MORTLAND suffered violations
15
     of Ohio Revised Code § 4112.02(G) in that MORTLAND was denied access to the facilities as
16
     stated herein at HAMPTON INN STOW and on the basis that MORTLAND was a person with
17

18   physical disabilities.

19            52.    As a result of the denial of equal access to Defendant’s facility due to the acts
20
     and omissions of Defendant in owning, operating and maintaining the subject public facility,
21
     MORTLAND suffered violations of his civil rights, as well as suffering from shame,
22
     humiliation, embarrassment, frustration, anger, chagrin, disappointment and worry, all of which
23

24   are expectedly and naturally associated with a denial of access to a person with physical

25   disabilities, all to plaintiff’s damages as hereinafter stated.
26
              53.    MORTLAND has been damaged by Defendant’s wrongful conduct and seeks the
27
     relief that is afforded by Ohio Revised Code § 4112 for violation of his rights as a person,
28
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1    including statutory damages according to proof.
2
              54.    As a result of Defendant’s acts and omissions in this regard, MORTLAND has
3
     been required to incur legal expenses and hire attorneys in order to enforce his rights and
4
     enforce the provisions of the law protecting access for persons with physical disabilities and
5

6    prohibiting discrimination against persons with physical disabilities. Pursuant to the provisions

7    of Ohio Revised Code § 4112, MORTLAND therefore will seek recovery in this lawsuit for all
8
     reasonable attorneys’ fees and costs incurred if deemed the prevailing party.
9
             Wherefore, plaintiff prays for relief and damages as hereinafter stated.
10
     III. THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
11
     IN VIOLATION OF OHIO ADMINISTRATIVE CODE § 4101:1-11, et seq.
12
              55.    MORTLAND repleads and incorporates by reference as if fully set forth again
13
     herein, the allegations contained in paragraphs 1 through 54 of this complaint.
14

15            56.    Ohio Administrative Code (hereinafter “O.A.C.”) § 4101:1-11 controls the design

16   and construction of facilities for accessibility for individuals with disabilities.
17
              57.    Sites, buildings, structures, facilities, elements and spaces, temporary or
18
     permanent, shall be accessible to individuals with disabilities. O.A.C. § 1103.1.
19
              58.    HAMPTON INN STOW, being a site, building, structure, facility, element or
20

21   space, committed an unlawful act pursuant to O.A.C. § 1103.1 by failing to provide an accessible

22   hotel to an individual with disabilities due to the barriers to access as described in paragraph 16.
23
              59.    Defendant’s violations denied MORTLAND full enjoyment of its
24
     accommodations, advantages, facilities, or privileges, whereas, MORTLAND had great
25
     difficulty utilizing the property due to extensive barriers for patrons confined to wheelchairs.
26

27            60.    As a result of these violations, MORTLAND is entitled to compensatory and

28   punitive damages, and attorney fees and costs, in an amount to be determined at trial, but in any
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1    event not less than $25,000.00, as well as issuance of an injunction requiring Defendant to allow
2
     full and equal enjoyment of its goods, services, facilities, privileges, and advantages to disabled
3
     persons.
4
                61.   A separate act in violation of Ohio Administrative Code § 4101:1-11, et seq. has
5

6    been committed each day that Defendant act or fail to act and/or knowingly and willfully

7    fail and refuse to make accessible its site for physically disabled persons presently existing at the
8
     subject HAMPTON INN STOW. MORTLAND has been denied full and equal access on an
9
     ongoing basis since the date of his first visit. As a legal result, MORTLAND is entitled to seek
10
     appropriate relief, such as damages.
11

12              62.   As a result of Defendant’s accessibility violations, MORTLAND suffered

13   violations of his civil rights, as well as suffering from injury, shame, humiliation,
14
     embarrassment, frustration, anger, chagrin, disappointment and worry, all of which are
15
     expectedly and naturally associated with a denial of access to a person with physical disabilities,
16
     all to plaintiff’s damages as hereinafter stated.
17

18              63.   MORTLAND has been damaged by Defendant’s wrongful conduct and seeks

19   relief for violation of the O.A.C., including actual and special damages, according to proof.
20
                64.   As a result of Defendant’s acts and omissions in this regard, MORTLAND has
21
     been required to incur legal expenses and hire attorneys in order to enforce plaintiff’s rights and
22
     enforce the provisions of the law protecting access for persons with physical disabilities and
23

24   prohibiting discrimination against persons with physical disabilities. MORTLAND therefore will

25   seek recovery in this lawsuit for all reasonable attorneys’ fees and costs incurred if deemed the
26
     prevailing party.
27
     IV.    O.R.C. 4112.16 NOTICE OF VIOLATION OF ACCESSIBILITY LAW
28
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1            65.    Pursuant to O.R.C. 4112.16 Notice of Violation of Accessibility Law, prior to
2
     filing a civil action alleging violation of a State of Ohio accessibility law, the alleged aggrieved
3
     party may notify the owner, agent, or other responsible party, by personal service or by certified
4
     mail, of alleged accessibility law violations.
5

6            66.    On May 6, 2019, MORTLAND served upon Defendants’ statutory agent a Notice

7    of Violation of Accessibility Law pursuant to O.R.C. 4112.16. See Exhibit 1, May 6, 2019
8
     Notice of Violation of Accessibility Law.
9
             67.    Defendant failed to respond in accordance with the statute. See Exhibit 2, May
10
     24, 2019 R.C. 4112.16 Response. See Exhibit 3, R.C. 4112.16(D)(1) Response. Plaintiff
11

12   subsequently mailed Defendant a letter indicating his intent to file an accessibility lawsuit. See

13   Exhibit 4, August 12, 2019 Letter.
14
             68.    Due to Defendant’s failure to respond in accordance with the statute, Plaintiff
15
     may commence his lawsuit for violations of State of Ohio accessibility laws.
16
             69.    Due to Defendant’s failure to respond, in accordance with the statute, Plaintiff, if
17

18   deemed the prevailing party, shall recover reasonable attorney’s fees, in addition to any other

19   remedies available to the plaintiff.
20
             70.    Due to Defendant’s failure to respond, in accordance with the statute, Defendant’s
21
     inadequate responses to Plaintiff’s Notice are considered an admission of guilt and are
22
     admissible as evidence in this action.
23

24          Wherefore, MORTLAND prays for relief and damages as hereinafter stated.

25   PRAYER:
26
            Wherefore, MORTLAND prays that this court grant relief as follows:
27
     I.     PRAYER FOR FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A
28          PUBLIC ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
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1            DISABILITIES ACT OF 1990 (42 U.S.C. §1 2101, et seq.)
2
             1.     For injunctive relief, compelling Defendant to make HAMPTON INN STOW
3
     readily accessible to and usable by individuals with disabilities; and to make reasonable
4
     modifications in policies, practice, eligibility criteria and procedures so as to afford full access to
5

6    the goods, services, facilities, privileges, advantages and accommodations being offered.

7            2.     For attorneys’ fees, litigation expenses and costs of suit, if MORTLAND is
8
     deemed the prevailing party; and
9
             3.     For such other and further relief as the court may deem proper.
10
     II.     PRAYER FOR SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND
11
             EQUAL ACCESS IN VIOLATION OF OHIO REVISED CODE § 4112.02, et seq.
12
             4.     For injunctive relief, compelling Defendant to make HAMPTON INN STOW,
13
     readily accessible to and usable by individuals with disabilities, per state law.
14

15           5.     General and compensatory damages according to proof;

16           6.     All damages for each day, from the inception of the filing of this complaint, on
17
     which Defendant have failed to remove barriers which denied MORTLAND and other persons
18   with disabilities full and equal access.

19           7.     Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if MORTLAND is
20
     deemed the prevailing party;
21
             8.     Punitive damages, pursuant to Ohio Revised Code § 2315.21;
22
             9.     For all costs of suit;
23

24           10.    Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);

25           11.    Such other and further relief as the court may deem just and proper.
26
     III.    PRAYER FOR THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND
27           EQUAL ACCESS IN VIOLATION OF OHIO ADMINISTRATIVE CODE §
             4101:1-11, et seq.
28
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1           12.     For injunctive relief, compelling Defendant to make HAMPTON INN STOW
2
     readily accessible to and usable by individuals with disabilities, per state law.
3
            13.     General and compensatory damages according to proof;
4
            14.     All damages for each day, from the inception of the filing of this complaint, on
5

6    which Defendant have failed to remove barriers which denied MORTLAND and other persons

7    with disabilities full and equal access.
8
            15.     Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if MORTLAND is
9
     deemed the prevailing party;
10
            16.     Punitive damages, pursuant to Ohio Revised Code § 2315.21;
11

12          17.     For all costs of suit;

13          18.     Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);
14
            19.     Such other and further relief as the court may deem just and proper.
15

16                                           Respectfully submitted,
17
                                             BLAKEMORE, MEEKER & BOWLER CO., L.P.A.
18
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28
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